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                            UNITED STATES DISTRICT COURT
                                                                                      FILED
                             WESTERN DISTRICT OF TEXAS                          December 08, 2021
                                                                               CLERK, U.S. DISTRICT COURT
                                SAN ANTONIO DIVISION                           WESTERN DISTRICT OF TEXAS

THE UNITED STATES OF AMERICA                    )                                     Magda Muzza
                                                                            BY: ________________________________
                                                                                                    DEPUTY
                                                )
                       Plaintiff                )
                                                )
v.                                              )
                                                )           Case No. 5:21-CR-0531 -JKP
1) TIMOTHY BLAND                                )
       aka “GRANDMA”                            )
(2) CRANDALL JONES                              )
       aka “PUNIE”                              )
(3) LUIS TOVIAS                                 )
(5) PAMELA FELITA BREEDING                      )

                       Defendant.


                                           ORDER


         On this date came to be heard Government=s Motion to Unseal Indictment on the above

referenced Defendants, Case Number 5:21-CR-531, and the Court having considered same, it is of

the opinion that said motion should be hereby GRANTED.

         It is therefore ORDERED that the Indictment shall be unsealed until further Order of the

Court.

                                         8th day of December, 2021.
         SIGNED and ENTERED on this the _____


                                                    ___________________________________
                                                    UNITED STATES DISTRICT JUDGE
